                              Case 20-14696-LMI                    Doc 221           Filed 08/04/21              Page 1 of 12
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 20-14696-LMI
Cinemex Holdings USA, Inc.                                                                                             Chapter 11
Cinemex USA Real Estate Holdings, Inc.
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 113C-1                                                  User: lebronl                                                               Page 1 of 8
Date Rcvd: Aug 02, 2021                                               Form ID: pdf004                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 04, 2021:
Recip ID                 Recipient Name and Address
aty                    + Brian Rich, 313 North Monroe Street, Suite 301, Tallahassee, FL 32301-7643

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 04, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 2, 2021 at the address(es) listed
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Date Rcvd: Aug 02, 2021                                          Form ID: pdf004                                                    Total Noticed: 1
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                      Case 20-14696-LMI                Doc 221         Filed 08/04/21            Page 8 of 12
District/off: 113C-1                                     User: lebronl                                           Page 8 of 8
Date Rcvd: Aug 02, 2021                                  Form ID: pdf004                                        Total Noticed: 1
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TOTAL: 143
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             ORDERED in the Southern District of Florida on August 1, 2021.




                                                                Laurel M. Isicoff
                                                                Chief United States Bankruptcy Judge
_____________________________________________________________________________



                                          UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                   MIAMI DIVISION
                                                  www.flsb.uscourts.gov

             In re:
                                                                  Chapter 11
             CINEMEX HOLDINGS USA, INC.,                          Case No. 20-14696-LMI

                                Debtor.
                                                           /

                         ORDER SUSTAINING GUC CLAIMS TRUST’S THIRD
                OMNIBUS OBJECTION TO CLAIMS (AMENDED AND SUPERSEDED CLAIMS)

                          THIS MATTER having been considered without a hearing upon the GUC Claims Trust’s

             Third Omnibus Objection to Claims (Amended and Superseded Claims) (the “Objection”) [ECF

             No. 116] filed by the GUC Claims Trust on May 18, 2021. The GUC Claims Trust, by submitting

             this form of Order, having represented that the Objection was served upon each of the claimants

             identified in Exhibit “A” of the Objection, that the thirty (30) day response time provided by Local

             Rule 3007-1(D) has expired, that no responses were filed to the Objection or received by counsel

             to the GUC Claims Trust (except as noted below), and that the relief to be granted in this Order is



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the identical relief requested in the Objection except with respect to 1) Town of Leesburg VA with

respect to claim numbers 71-1 and 71-2 which have been removed, by agreement of the parties,

from the exhibit after an informal response by Town of Leesburg VA, and which is the subject of

a separate order [ECF No. 193], and 2) USEF HCG Fenton LLC with respect to claim numbers

26-1 and 36-1 which have been removed, by agreement of the parties, from the exhibit after an

informal response by USEF HCG Fenton LLC and which will be the subject of a separate order,

this Court having considered the basis for the Objection to the claims, it is

             ORDERED as follows:

             1.    The Objection is SUSTAINED, with respect to the claims identified on the

attached Exhibit “A”.

             2.    The claims identified on the attached Exhibit “A”, shall be treated as set forth in

the Disposition of Claim column.

                                                 # # #


Submitted by:
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313 N. Monroe Street, Suite 301
Tallahassee, FL 32301
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Facsimile: (850) 561-3013
E-mail: brich@bergersingerman.com

(Brian G. Rich, Esq. is directed to serve this order upon all non-registered users or registered
users who have yet to appear electronically in these cases and file a conforming certificate of
service.)




10744525-1
KƌĚĞƌ^ƵƐƚĂŝŶŝŶŐdŚŝƌĚKŵŶŝďƵƐKďũĞĐƚŝŽŶƚŽůĂŝŵƐ;ŵĞŶĚĞĚĂŶĚ^ƵƉĞƌƐĞĚĞĚůĂŝŵƐͿ
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               EĂŵĞŽĨůĂŝŵĂŶƚ                      ůĂŝŵEŽ͘   ĞďƚŽƌĂƐĞǁŚĞƌĞ      ĂƐĞEŽ͘    ůĂŝŵŵŽƵŶƚ           ŝƐƉŽƐŝƚŝŽŶŽĨůĂŝŵ
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            ĐͬŽĞĐŬĞƚĂŶĚ>ĞĞ>>W                                 ǆƉĞƌŝĞŶĐĞ>>                                                   ŝƚƐĞŶƚŝƌĞƚǇ͘
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    ƌĂŵĂƌŬhŶŝĨŽƌŵΘĂƌĞĞƌƉƉĂƌĞů͕>>              ϭϱͲϭ          dŚĞĂƚĞƌ         ϮϬͲϭϰϲϵϵ   Ψϰϱ͕ϲϯϲ͘ϯϲ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
              ĐͬŽ^ŚĞŝůĂZ͘^ŚǁĂŐĞƌ                                ǆƉĞƌŝĞŶĐĞ>>                                                ŝƚƐĞŶƚŝƌĞƚǇ͘
                                                                                                                                                           Case 20-14696-LMI




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                   WKŽǆϭϲϭϳ
                  ŽŝƐĞ͕/ϴϯϳϬϭ
                    ĐŽůĂď͕/ŶĐ͘                       ϳϵͲϭ       ŝŶĞŵĞǆh^ZĞĂů      ϮϬͲϭϰϲϵϱ   Ψϳϯ͕ϯϲϳ͘ϳϯ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
                                                                                                                                                           Doc 221




              ϮϲϮϱϮEĞƚǁŽƌŬWůĂĐĞ                                ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                           ŝƚƐĞŶƚŝƌĞƚǇ͘
             ŚŝĐĂŐŽ͕/>ϲϬϲϳϯͲϭϮϲϮ
    ,ŝŐŚĞĨŝŶŝƚŝŽŶůĞĂŶŝŶŐdĞĐŚŶŽůŽŐǇ͕/ŶĐ͘          ϵϱͲϭ          dŚĞĂƚĞƌ         ϮϬͲϭϰϲϵϱ   Ψϭϴ͕ϴϬϬ͘ϬϬ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
           ϯϲϲϱĂƐƚĂǇƌηϮϬϰͲϮϳϴ                               ǆƉĞƌŝĞŶĐĞ>>                                                ŝƚƐĞŶƚŝƌĞƚǇ͘
                  >ĂƌŐŽ͕&>ϯϯϳϳϭ
    ,ŝŐŚĞĨŝŶŝƚŝŽŶůĞĂŶŝŶŐdĞĐŚŶŽůŽŐǇ͕/ŶĐ͘          ϵϱͲϮ          dŚĞĂƚĞƌ         ϮϬͲϭϰϲϵϱ   Ψϭϴ͕ϵϱϲ͘ϰϯ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
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           ϯϲϲϱĂƐƚĂǇƌηϮϬϰͲϮϳϴ                               ǆƉĞƌŝĞŶĐĞ>>                                                ŝƚƐĞŶƚŝƌĞƚǇ͘
                  >ĂƌŐŽ͕&>ϯϯϳϳϭ
           ,ŝdŽƵĐŚƵƐŝŶĞƐƐ^ĞƌǀŝĐĞƐ                   ϭϬͲϭ          dŚĞĂƚĞƌ         ϮϬͲϭϰϲϵϵ   Ψϯϭ͕ϴϳϮ͘ϴϮ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
        KŶĞDŽŶƵŵĞŶƚ^ƋƵĂƌĞ^ƚĞϴϬϬ                                ǆƉĞƌŝĞŶĐĞ>>                                                ŝƚƐĞŶƚŝƌĞƚǇ͘
               WŽƌƚůĂŶĚ͕DϬϰϭϬϭ
                 >ĂŬĞůĂŶĚůĞĐƚƌŝĐ                    ϭϭϳͲϭ       ŝŶĞŵĞǆh^ZĞĂů      ϮϬͲϭϰϲϵϱ   ΨϮϮ͕ϰϱϬ͘ϯϭ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
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          ƚƚŶ͗:ĞƌƌŽĚ͘^ŝŵƉƐŽŶ͕ƐƋ͘                          ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                           ŝƚƐĞŶƚŝƌĞƚǇ͘
           ϮϮϴ^͘DĂƐƐĂĐŚƵƐĞƚƚƐǀĞ͘
               >ĂŬĞůĂŶĚ͕&>ϯϯϴϬϭ
   DŝĂŵŝĂĚĞŽƵŶƚǇdĂǆŽůůĞĐƚŽƌ          ϭͲϭ     ŝŶĞŵĞǆh^ZĞĂů      ϮϬͲϭϰϲϵϱ   hE>/Yh/d ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
                ^ƵŝƚĞηϰϯϬ                         ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                  ŝƚƐĞŶƚŝƌĞƚǇ͘
          ϮϬϬEtϮŶĚǀĞŶƵĞ
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             dŚŽŵĂƐ:&ůǇŶŶ                        ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                       ŝƚƐĞŶƚŝƌĞƚǇ͘
 >ĂƌŬŝŶ͕,ŽĨĨŵĂŶ͕ĂůǇΘ>ŝŶĚŐƌĞŶ>ƚĚ͘
    ϴϯϬϬEŽƌŵĂŶĞŶƚĞƌ͕^ƵŝƚĞϭϬϬϬ
      DŝŶŶĞĂƉŽůŝƐ͕DEϱϱϰϯϳͲϭϬϲϬ
     dǁŝŶ^ŚŽƌĞƐDĂŶĂŐĞŵĞŶƚ>>             ϮϲͲϭ    ŝŶĞŵĞǆh^ZĞĂů      ϮϬͲϭϰϲϵϱ   ΨϮ͕ϱϲϱ͕ϴϳϳ͘ϬϬ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
       ϭϬϯϵ^ƚĂƚĞ^ƚƌĞĞƚ͕^ƵŝƚĞϮϬϯ                ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                        ŝƚƐĞŶƚŝƌĞƚǇ͘
          ĞƚƚĞŶĚŽƌĨ͕/ϱϮϳϮϮ
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            dŚĞ/ŽŵƉĂŶǇ                ϮϭͲϭ       dŚĞĂƚĞƌ         ϮϬͲϭϰϲϵϵ   Ψϭϭ͕ϯϭϱ͘Ϯϱ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
             ϮϲϱDĂƐŽŶZĚ͘                           ǆƉĞƌŝĞŶĐĞ>>                                                ŝƚƐĞŶƚŝƌĞƚǇ͘
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                                                                                                                                          Doc 221




    ϱϳϱϮ'ƌĂŶƐĐĂƉĞůǀĚ͕͘^ƵŝƚĞϮϬϬ                ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                        ŝƚƐĞŶƚŝƌĞƚǇ͘
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tĞůůƐ&ĂƌŐŽsĞŶĚŽƌ&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ>>   ϮϰͲϭ    ŝŶĞŵĞǆh^ZĞĂů      ϮϬͲϭϰϲϵϱ   Ψϭϱϱ͕Ϭϴϴ͘ϳϭ ^ƚƌŝĐŬĞŶĂŶĚĚŝƐĂůůŽǁĞĚŝŶ
          ƚƚŶ͗:ĂƐŽŶ,ĂƌŬŶĞƐƐ                     ƐƚĂƚĞ,ŽůĚŝŶŐƐ͕/ŶĐ͘                                          ŝƚƐĞŶƚŝƌĞƚǇ͘
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